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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                        )
                                              )
               Defendant.                     )


              DEFENDANT PAUL J. MANAFORT, JR.’S MOTION FOR
               LEAVE TO FILE UNDER SEAL RENEWED MOTION
             FOR RECONSIDERATION OF CONDITIONS OF RELEASE

       Defendant Paul J. Manafort, Jr., by and through counsel, moves for leave to file

under seal this renewed motion for reconsideration of conditions of release per the

Court’s recent Minute Order. See Minute Order dated February 22, 2018. The basis for

sealing this motion remains the same as for the original motion for reconsideration, and

the supplemental filings, which the Court previously granted.

       The general policy is that public access to judicial proceedings and judicial

records is important to the proper functioning of our justice system; however, there is

good cause and compelling reasons in this instance to seal the renewed motion for

reconsideration of conditions of release. More particularly, the defendant is seeking

reconsideration of the conditions of release identified in the December 15, 2017 Order.

On February 22, 2018, the Court advised that Mr. Manafort could propose a different

bond package if he chose. See Minute Order dated February 22, 2018. The submission

of additional materials containing sensitive financial information, personal addresses,

etc., is required for the Court to evaluate the conditions of release under 18 U.S.C Section

3142 and determine the least restrictive conditions that will reasonably assure the

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defendant’s appearance as required. See United States v. Xulum, 84 F.3d 441, 443 (D.C.

Cir. 1996) (per curiam).

       Further, the defendant requests permission to submit a redacted version of the

renewed motion for docketing on the public record, in accordance with the Court’s

previous guidance.

       WHEREFORE, the defendant moves for leave to file under seal this renewed

motion for reconsideration of conditions of release, including its attachments, and for

permission to file a redacted version of the motion on the public docket.

Dated: March 12, 2018                        Respectfully submitted,



                                                           /s/
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